392 F.2d 720
    FRANCHI CONSTRUCTION COMPANY, Inc. and Reliance Insurance Company, Appellants,v.The JAMES P. McGUINNESS COMPANY, Inc., Appellee.
    No. 23599.
    United States Court of Appeals Fifth Circuit.
    March 7, 1968.
    
      Harry T. Gray, Jacksonville, Fla., Robert J. Sherer, Boston, Mass., for appellants.
      Harlan Tuck, Orlando, Fla., for appellee.
      Before TUTTLE and WISDOM, Circuit Judges, and BREWSTER, District Judge.
      PER CURIAM:
    
    
      1
      This case is a companion case to Franchi Construction Company, Inc. and Reliance Insurance Company v. United States of America ex rel. Consolidated Comstock Company, Inc., 5 Cir., 392 F.2d 717, decided today. Both arose out of a contract between Franchi and the United States for the construction of Central Fire Station and Central Supply Facility at Merritt Island, Florida. Here the only issue is the liability of the surety for attorneys' fees in a suit under the Miller Act. We affirm the judgment below for the reasons stated in United States Fidelity and Guaranty Corporation v. Hendry Corporation, 5 Cir., 391 F.2d 13, February 29, 1968, and Transamerica Insurance Company v. Red Top Metal Inc., 5 Cir., 384 F.2d 752, October 18, 1967.
    
    